Case 2:21-cv-00364-GZS Document 1 Filed 12/20/21 Page 1 of 6   PageID #: 1
Case 2:21-cv-00364-GZS Document 1 Filed 12/20/21 Page 2 of 6   PageID #: 2
Case 2:21-cv-00364-GZS Document 1 Filed 12/20/21 Page 3 of 6   PageID #: 3
Case 2:21-cv-00364-GZS Document 1 Filed 12/20/21 Page 4 of 6   PageID #: 4
Case 2:21-cv-00364-GZS Document 1 Filed 12/20/21 Page 5 of 6   PageID #: 5
Case 2:21-cv-00364-GZS Document 1 Filed 12/20/21 Page 6 of 6   PageID #: 6
